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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF ILLINOIS

In re:      ALI, HYDER M                           §      Case No. 17-34586
            ALI, PAULA D                           §
                                                   §
Debtor(s)                                          §

                      NOTICE OF TRUSTEE’S FINAL REPORT AND
                        APPLICATIONS FOR COMPENSATION
                          AND DEADLINE TO OBJECT (NFR)

        Pursuant to Fed. R. Bankr. P. 2002(a)(6) and 2002(f)(8), please take notice that ILENE F.
GOLDSTEIN, trustee of the above styled estate, has filed a Final Report and the trustee and the
trustee’s professionals have filed final fee applications, which are summarized in the attached
Summary of Trustee’s Final Report and Applications for Compensation.

        The complete Final Report and all applications for compensation are available for
inspection at the Office of the Clerk, at the following address:

         219 South Dearborn Street, Room 710
         Chicago, IL 60604

        Any person wishing to object to any fee application that has not already been approved or
to the Final Report, must file a written objection within 21 days from the mailing of this notice,
serve a copy of the objections upon the trustee, any party whose application is being challenged
and the United States Trustee. A hearing on the fee applications and any objection to the Final
Report will be held at on 07 /26 /2019 at 12:00 p.m. in Courtroom B, Park City Court House
301 Greenleaf Ave Park City, Illinois 60085-5725. If no objections are filed, upon entry of an
order on the fee applications, the trustee may pay dividends pursuant to FRBP 3009 without
further order of the Court.




Date Mailed: 06/18/2019                      By:       /s/ Ilene F. Goldstein
                                                       Trustee

ILENE F. GOLDSTEIN
900 Skokie Blvd
Suite 128
Northbrook, IL 60062
(847) 562-9595




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                                                      BANKRUPTCY      5
                                       NORTHERN DISTRICT OF ILLINOIS

              In re: ALI, HYDER M                                                            §       Case No. 17-34586
                     ALI, PAULA D                                                            §
                                                                                             §
        Debtor(s)                                                                            §

                                   SUMMARY OF TRUSTEE'S FINAL REPORT
                                   AND APPLICATIONS FOR COMPENSATION


                      The Final Report shows receipts of                                         $           17,809.66

                     and approved disbursements of                                               $               251.79
                                                            1
                     leaving a balance on hand of                                                $           17,557.87

                                                          Balance on hand:                                   $              17,557.87
                Claims of secured creditors will be paid as follows:

Claim           Claimant                                       Claim Allowed Amount Interim Payments                          Proposed
No.                                                          Asserted       of Claim          to Date                         Payment
  10            Bank Of America, N.A.                              0.00                  0.00                    0.00              0.00
                                                          Total to be paid to secured creditors:             $                   0.00
                                                          Remaining balance:                                 $              17,557.87

                Applications for chapter 7 fees and administrative expenses have been filed as follows:
Reason/Applicant                                                          Total Requested Interim Payments                   Proposed
                                                                                                    to Date                  Payment
Trustee, Fees - ILENE F. GOLDSTEIN                                                  2,530.97                     0.00          2,530.97
Attorney for Trustee, Fees - LAW OFFICES OF ILENE F.                                2,345.00                     0.00          2,345.00
GOLDSTEIN, CHARTERED
Attorney for Trustee, Expenses - LAW OFFICES OF                                         58.00                    0.00             58.00
ILENE F. GOLDSTEIN, CHARTERED
                                 Total to be paid for chapter 7 administration expenses:                     $               4,933.97
                                 Remaining balance:                                                          $              12,623.90




                 1 The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
   earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
   receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
   account of the disbursement of the additional interest.

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               Applications for prior chapter fees              Pageexpenses
                                                   and administrative 3 of 5 have been filed as follows:
Reason/Applicant                                               Total Requested Interim Payments         Proposed
                                                                                         to Date        Payment
                                                        None
                             Total to be paid for prior chapter administrative expenses:    $                0.00
                             Remaining balance:                                             $           12,623.90

              In addition to the expenses of administration listed above as may be allowed by the
        Court, priority claims totaling $0.00 must be paid in advance of any dividend to
        general (unsecured) creditors.
              Allowed priority claims are:
Claim          Claimant                                        Allowed Amount Interim Payments            Proposed
No                                                                    of Claim          to Date           Payment
                                                        None
                                                 Total to be paid for priority claims:      $                0.00
                                                 Remaining balance:                         $           12,623.90
              The actual distribution to wage claimants included above, if any, will be the proposed
        payment less applicable withholding taxes (which will be remitted to the appropriate taxing
        authorities).

            Timely claims of general (unsecured) creditors totaling $ 125,856.85 have been allowed and
        will be paid pro rata only after all allowed administrative and priority claims have been paid in full.
        The timely allowed general (unsecured) dividend is anticipated to be 10.0 percent,
        plus interest (if applicable).
              Timely allowed general (unsecured) claims are as follows:
Claim          Claimant                                        Allowed Amount Interim Payments            Proposed
No                                                                    of Claim          to Date           Payment
  1            Commerce Bank                                           9,175.57                 0.00          920.35
  2            Discover Bank                                           3,116.38                 0.00          312.59
  3            TD Bank, USA                                            3,312.01                 0.00          332.22
  4            First American Bank                                    28,832.36                 0.00        2,891.99
  5            First National Bank of Omaha                            2,185.65                 0.00          219.23
  6            Capital One Bank (USA), N.A.                            2,728.64                 0.00          273.69
  7            Capital One, N.A.                                         388.65                 0.00              38.98
  8            American Express Centurion Bank                         4,497.66                 0.00          451.13
  9            Department Stores National Bank                         2,093.56                 0.00          209.99
 11            Quantum3 Group LLC as agent for                           680.16                 0.00              68.22
 12            Quantum3 Group LLC as agent for                         1,412.73                 0.00          141.70
 13            Quantum3 Group LLC as agent for                           938.89                 0.00              94.17




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14      Case 17-34586
          Quantum3 Group Doc 28agent
                         LLC as   Filed
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14 -2     Quantum3 Group LLC as agent for                        451.35           0.00         45.27
15        Quantum3 Group LLC as agent for                      3,981.77           0.00        399.39
16        Quantum3 Group LLC as agent for                      1,322.02           0.00        132.60
17        Quantum3 Group LLC as agent for                      4,826.91           0.00        484.16
18        Portfolio Recovery Associates, LLC                   1,177.37           0.00        118.09
19        Portfolio Recovery Associates, LLC                   1,629.02           0.00        163.40
20        Portfolio Recovery Associates, LLC                     555.95           0.00         55.76
21        Portfolio Recovery Associates, LLC                   5,732.84           0.00        575.02
22        Portfolio Recovery Associates, LLC                   1,345.90           0.00        135.00
23        Portfolio Recovery Associates, LLC                   1,744.44           0.00        174.97
24        Portfolio Recovery Associates, LLC                   4,570.43           0.00        458.43
25        Portfolio Recovery Associates, LLC                   2,343.50           0.00        235.06
26        Portfolio Recovery Associates, LLC                   1,254.59           0.00        125.84
27        Portfolio Recovery Associates, LLC                   5,634.07           0.00        565.12
28        Synchrony Bank                                       1,028.08           0.00        103.12
29        Synchrony Bank                                       1,395.32           0.00        139.96
30        Portfolio Recovery Associates, LLC                   2,519.33           0.00        252.70
31        LVNV Funding, LLC its successors and                 1,885.21           0.00        189.09
          assigns as
32        Ashley Funding Services, LLC its successors             43.27           0.00          4.34
          and
33        Ashley Funding Services, LLC its successors             12.52           0.00          1.26
          and
34        Ashley Funding Services, LLC its successors             56.34           0.00          5.65
          and
35        Ashley Funding Services, LLC its successors              7.38           0.00          0.74
          and
36        US DEPARTMENT OF EDUCATION                          22,976.98           0.00      2,304.67
                      Total to be paid for timely general unsecured claims:   $          12,623.90
                      Remaining balance:                                      $               0.00




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            Tardily filed claims of general (unsecured) creditors totaling $ 0.00 have been
        allowed and will be paid pro rata only after all allowed administrative, priority and timely filed
        general (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated
        to be 0.0 percent, plus interest (if applicable).

              Tardily filed general (unsecured) claims are as follows:
Claim          Claimant                                           Allowed Amount Interim Payments               Proposed
No                                                                       of Claim          to Date              Payment
                                                          None
                              Total to be paid for tardy general unsecured claims:                $                    0.00
                              Remaining balance:                                                  $                    0.00


             Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
        ordered subordinated by the Court totaling $ 0.00 have been allowed and will be paid
        pro rata only after all allowed administrative, priority and general (unsecured) claims have been paid
        in full. The dividend for subordinated unsecured claims is anticipated to be 0.0 percent,
        plus interest (if applicable).
              Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
        ordered subordinated by the Court are as follows:
Claim          Claimant                                           Allowed Amount Interim Payments               Proposed
No                                                                       of Claim          to Date              Payment
                                                           None
                                                    Total to be paid for subordinated claims: $                        0.00
                                                    Remaining balance:                        $                        0.00




                                                Prepared By: /s/ILENE F. GOLDSTEIN


             ILENE F. GOLDSTEIN
             900 Skokie Blvd
             Suite 128
             Northbrook, IL 60062
             (847) 562-9595


             STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
             Act exemption 5 C.F.R. §1320.4(a)(2) applies.




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